                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              DANVILLE DIVISION

   UNITED STATES OF AMERICA                  )
                                             )
                                             )      Case No.: 4:18-cr-00011
   v.                                        )
                                             )
                                             )
   MARCUS JAY DAVIS, et al.,                 )
                                             )      By:   Michael F. Urbanski
         Defendants.                         )      Chief United States District Judge

                                            ORDER

         The court has docketed a letter from Juval 0 . Scott, Federal Public D efender

   ("FPD") for the Western District of Virginia, received September 18, 2019. ECF No. 774.

   The letter sets forth the FPD's determination that Allegra Black and Fred Heblich are not

   authorized to provide testimony at the upcoming evidentiary hearing regarding Matthew

   Ferguson, set for September 27, 2019.

         All parties are DIRECTED to f.tle any responses to and/ or pertinent authority on

   the legal issues raised by the FPD's letter on or before Tuesday, September 24, 2019 so that

   the court may consider them in advance of the September 27, 2019 hearing.

          It is so ORDERED.

                                             Entered:
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                                     (6,/'Pl~~d {: Z4~




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